                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                                3:12cr13-5

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
Vs.                                              )             ORDER
                                                 )
ABDUL WHITE,                                     )
                                                 )
                 Defendant.                      )
_______________________________                  )

        THIS MATTER is before the court on defendant’s “Notice of Appeal to District

Court the Detention Order Entered March 27, 2012" (#66). Preliminary review of the record

of the detention hearing reveals that defendant proceeded pro se and was unable to present

to the magistrate judge in a logical or coherent manner his arguments for release. While

defendant seeks to appeal that determination for consideration of additional information

through counsel, the court believes such motion is better deemed to be a motion for

reconsideration rather than an appeal. The court will refer such motion to the magistrate

judge to conduct a further hearing at which counsel for defendant can present whatever

additional evidence he deems appropriate for consideration under 18 U.S.C. § 3145(g).

                                         ORDER

        IT IS, THEREFORE, ORDERED that defendant’s “Notice of Appeal to District

Court the Detention Order Entered March 27, 2012" (#66) is DEEMED to be a Motion for

Reconsideration, and is referred for hearing to the magistrate judge.


                                             Signed: April 9, 2012




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